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                          UNITED STATES DISTRICT COURT
                         CENTRAL DISTRICT OF CALIFORNIA

                            CIVIL MINUTES – GENERAL

 Case No.: 5:19-02224 ODW (ADS)                                 Date: May 6, 2020
 Title: Feridoon Aslani v. San Bernardino County, et al.


 Present: The Honorable Autumn D. Spaeth, United States Magistrate Judge


               Kristee Hopkins                                None Reported
                Deputy Clerk                             Court Reporter / Recorder

     Attorney(s) Present for Plaintiff(s):         Attorney(s) Present for Defendant(s):
               None Present                                    None Present

 Proceedings:          (IN CHAMBERS) ORDER TO SHOW CAUSE WHY CASE
                       SHOULD NOT BE DISMISSED FOR FAILURE TO
                       PROSECUTE AND OBEY COURT ORDERS

         Pro se Plaintiff Feridoon Aslani filed a civil rights Complaint pursuant to 42
 U.S.C. § 1983 against the County of San Bernardino and two individual defendants.
 [Dkt. No. 1]. On April 2, 2020, the Court issued an Order Dismissing with Leave to
 Amend. [Dkt. No. 7]. Plaintiff’s response or First Amended Complaint was ordered to
 be filed by no later than May 4, 2020. However, the Court has not received any
 response to the Order Dismissing with Leave to Amend from Plaintiff.

         Plaintiff is ORDERED TO SHOW CAUSE why this case should not be
 dismissed for failure to prosecute and obey court orders. Plaintiff must file a
 written response to this OSC by no later than May 20, 2020. Plaintiff may respond by
 filling one of the following: (a) a First Amended Complaint; (b) filing a statement with
 the Court indicating the desire to continue to move forward with the Complaint despite
 the infirmities identified in the Order Dismissing with Leave to Amend; or (c) filing a
 request for dismissal of the case.




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       Plaintiff is expressly warned that failure to timely file a response to this Order to
 Show Cause may result in a recommendation to the District Judge that this action be
 dismissed with prejudice for failure to prosecute and obey Court orders pursuant to
 Federal Rule of Civil Procedure 41(b).

        IT IS SO ORDERED.




                                                                 Initials of Clerk kh




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